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                                                                     LLC; BAYER AG; BAYER SCHERING
                    17                                               PHARMA AG

                    18                                  UNITED STATES DISTRICT COURT
                    19                             NORTHERN DISTRICT OF CALIFORNIA
                    20                                      SAN FRANCISCO DIVISION
                    21   ONYX PHARMACEUTICALS, INC.,                     Case No. C 09-2145 (EMC)
                    22                     Plaintiff,                    STIPULATION AND [PROPOSED]
                                                                         ORDER REQUESTING DISMISSAL
                    23            v.
                                                                         Hon. Edward M. Chen
                    24   BAYER CORPORATION, BAYER AG,
                         BAYER HEALTHCARE LLC, AND
                    25   BAYER SCHERING PHARMA AG,
                    26                     Defendants.
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  COOLEY LLP                                                                         STIPULATION AND ORDER REQUESTING
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                         1239567 v1/SF                                                                       DISMISSAL
                                                                                             CASE NO.: CV 09 2145 (EMC)
                           Case 3:09-cv-02145-EMC Document 237 Filed 10/14/11 Page 2 of 3



                     1            Pursuant to a settlement agreement entered into by the parties in the above-entitled action,

                     2   and pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the parties hereby stipulate

                     3   and request that the Court DISMISS WITH PREJUDICE all claims between the parties in the

                     4   above-entitled action, each party to bear its own costs and attorneys’ fees.

                     5            Pursuant to the terms of the settlement agreement, the parties further stipulate and request

                     6   that the Court retain jurisdiction over the above-entitled action and over the parties personally for

                     7   the purposes of enforcing the payment obligation set forth in Section 12 of the Fourth

                     8   Amendment to the Collaboration Agreement between the parties.

                     9
                         Dated: October 14, 2011                         Dated: October 14, 2011
                    10
                         COOLEY LLP                                      BARTLIT BECK HERMAN PALENCHAR
                    11                                                   & SCOTT LLP
                    12

                    13   /s/ Martin S. Schenker                          /s/ J. Scott McBride
                         Martin S. Schenker
                    14
                         Attorneys for Plaintiff                         Attorneys for Defendants
                    15   ONYX PHARMACEUTICALS, INC.                      BAYER CORPORATION; BAYER
                                                                         HEALTHCARE LLC; BAYER AG; BAYER
                    16                                                   SCHERING PHARMA AG
                    17
                         PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                         Dated: October ____, 2011                              _____________________________
                    21                                                          Hon. Edward M. Chen
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  COOLEY LLP                                                                                STIPULATION AND ORDER REQUESTING
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                         1239567 v1/SF                                    1.                                        DISMISSAL
                                                                                                    CASE NO.: CV 09 2145 (EMC)
                           Case 3:09-cv-02145-EMC Document 237 Filed 10/14/11 Page 3 of 3



                     1                     ATTESTATION PURSUANT TO GENERAL ORDER 45
                     2
                                  I, Martin S. Schenker, attest that concurrence in the filing of this Stipulation And
                     3
                         [Proposed] Order Requesting Dismissal has been obtained from each of the other signatories.
                     4
                         Executed this 14th day of October, 2011, at San Francisco, California.
                     5

                     6                                                           /s/ Martin S. Schenker
                                                                                 Martin S. Schenker
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  COOLEY LLP                                                                            STIPULATION AND ORDER REQUESTING
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                         1239567 v1/SF                                  2.                                      DISMISSAL
                                                                                                CASE NO.: CV 09 2145 (EMC)
